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ORP DET ORD (l/15/16)



                                       IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF OREGON
UNITED STATES OF AMERICA,                                             Case No      3:20-mj-00153-1


            V.
Jacob Michael Gains
                                                                     ORDER OF DETENTION AFTER HEARING (18
                                                                     USC§ 3142(i))
-----------------------~
'IQOn motion of the Government involving an alleged:
        □ risk to the safety of any other person or the community for cases involving crimes described in 18 USC§ 3142(f)(I)
        ~ serious risk defendant will flee;
        D serious risk defendant will obstruct or attempt to obstruct justice, or threaten, iajure, or intimidate a prospective witness or juror
        or attempt to do so,
 D Upon consideration by the court sua sponte involving a:
        D serious risk defendant will flee;
        D serious risk defendant will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate a prospective witness or juror
        or attempt to do so,

Having considered the nature and circumstances of the offense charged, the weight of evidence against the defendant, the history and
characteristics of the defendant, and the nature and seriousness of the danger to any person and to the community that would be posed by the
defendant's release, the court finds that:

D The offense charged creates a rebuttable presumption in 18 USC § 3142(e) that no combination of conditions will reasonably assure the
safety of the community.

   No condition or combination of conditions will reasonably assure the appearance of defendant as required due to:
   D Foreign citizenship and/or illegal alien      D In custody/serving sentence                    g Substance use/abuse
                                                                                                  / j!Unknown
   D ICE Detainer                                  D Outstanding warrant(s)
                                                                                                     amily/employment/community ties
   D Deportation(s)                                D Prior failure(s) to appear                     1)!l Unstable/no residence available
   D Multiple or false identifiers                 ? Mental health issues                         /□ Information unverified/unverifiable
   □ Aliases
   D Prior criminal history, D including drug/drug related offense, D including alcohol/alcohol related offense
   D Prior supervision failure(s), D Including illicit drug use, D including alcohol abuse
   D Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
~No condition or combination of conditions will reasonably assure the safety of other persons and the community due to:
   ~ Nature of offense                                                     D Prior supervision failures
   ~ Arrest behavior                                                     ~ Substance use/abuse
                                                                         ''t;:k Mental health issues
  !
      Possession ofweapon(s)
      Violent behavior                                                  1J Alleged offense involves child pornography on the internet
 1 □ Prior criminal history, □ including drug/drug related offense,        D including alcohol/alcohol related offense
   D Prior supervision failure(s), D Including illicit drug use,           D including alcohol abuse
   D Other:
             --------------------
□ Other (writ/serving federal or state sentence): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

□     Defendant has not rebutted by sufficient evidence to the contrary the presumption provided in 18 USC § 3142(e).
i,i. The defendant is detained without prejudice to further review by the court at a later date.
l.rHEREFORE, IT IS ORDERED that:
        1.      Defendant is detained prior to trial;
        2.      Defendant is committed to the custody of the Attorney General for confinement in a corrections facility separated, as far
                as practicable, from persons awaiting or serving sentences or being held in custody pending appeal;
        3.      Defendant shall be afforded a reasonable opportunity for private consultation with his counsel;
        4.      The superintendent of the corrections facility in which defendant is confined shall mak     defendant available to the
                United States Marshal for the purpose of appearance in conn ction with an court

      DATED:



1 - DETENTION ORDER
